          Case 1:16-cv-00810-GLR Document 24 Filed 07/25/17 Page 1 of 1



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           UNITED STATES DISTRICT COURT
       --------------- DISTRICT OF MARYLAND ---------------
                                       APPEARANCE



UNITED STATES OF AMERICA

v.                                                          CASE NUMBER: GLR-16-0810

JAMIU LAWAL


To the Clerk of this Court and all parties of record:

        Please enter my appearance as counsel in this case for Jamiu Lawal. I certify that I am

eligible to practice in this court.



Date: July 25, 2017



                                                                     /s/
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